Case 2:24-cv-05712-FLA-SSC Document 1-10 Filed 07/08/24 Page 1 of 3 Page ID #:97




                        Exhibit B
                                                                  Exhibit B – Page 96
Case 2:24-cv-05712-FLA-SSC Document 1-10 Filed 07/08/24 Page 2 of 3 Page ID #:98




   1 Rasha Gerges Shields (Cal. Bar No. 218248)
     rgergesshields@jonesday.com
   2 JONES DAY
     555 South Flower Street, 50th Floor
   3 Los Angeles, CA 90071
   4 Telephone: +1.213.243.2719
     Facsimile: +1.213.243.2539
   5
     Attorneys for Defendant
   6 UNIVERSITY OF SOUTHERN CALIFORNIA
   7
   8                        UNITED STATES DISTRICT COURT
   9                      CENTRAL DISTRICT OF CALIFORNIA
  10
  11 DOE JEWISH USC FACULTY                      Case No.
     MEMBER 2004 and DOE JEWISH
  12 USC STUDENT 1987, Individually
     And On Behalf of All Others Similarly       DECLARATION OF FRANK
  13 Situated,                                   CHANG IN SUPPORT OF
                                                 DEFENDANT’S NOTICE OF
  14                 Plaintiffs,                 REMOVAL OF ACTION
                                                 PURSUANT TO 28 U.S.C. §§ 1332,
  15 v.                                          1441, 1446, AND 1453
  16 Trustees of THE UNIVERSITY OF
     SOUTHERN CALIFORNIA, a private
  17 public benefit corporation; and DOES 1
     through 100, inclusive,
  18
                    Defendants.
  19
  20
  21        I, Frank Chang, declare:
  22        1.    I am over 18 years of age. I submit this declaration in support of
  23 Defendant University of Southern California’s (“USC” or “the University”) Notice of
  24 Removal of Action Pursuant to 28 U.S.C. §§ 1332, 1441, 1446, and 1453. The facts
  25 below are based on my personal knowledge and my familiarity with, and access to,
  26 records maintained by USC in the regular course of its operations. If called as a
  27 witness, I could and would testify competently to them.
  28
                                                                     Exhibit B – Page 97

           DECLARATION OF FRANK CHANG IN SUPPORT OF DEFENDANT’S NOTICE OF REMOVAL
Case 2:24-cv-05712-FLA-SSC Document 1-10 Filed 07/08/24 Page 3 of 3 Page ID #:99




                                                              2nd




                                                                    Exhibit B – Page 98
